Case 2:03-CV-02043-BBD-tmp Document 42 Filed 08/23/05 Page 1 of 2 Page|D 39

IN THE UNITED sTATEs DISTRICT coURT H.ED BY __ ___D.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

wEsTERN DIvIsIoN 05 AUG 23 AH 6= 53
X THOM%S M.GOULD
MARINo coRTEz GREEN, X CLEHK,U,S_ D='§WCTCOUHT
X W,'”B `!'_`T-F !; *f»°%~u`$
Plaintiff, X
X
vs. X No. 03-2043-D/P
X
REGIONAL MEDICAL cENTER, x
X
Defendant. X
X

 

ORDER DIRECTING CLERK TO UPDATE DOCKET TO R.EFLECT
TI~IAT THE MOTION TO AMEND C'OMPLAINT WAS GRANTED

 

On October 19, 2004, plaintiff, Marino Green filed a motion to
amend his complaint. (Docket entry 26) On October 29, 2004, the
Court entered an order granting Green permission to amend his
complaint. (Docket entry 29) For some unknown reason, the docket
reflects that the motion to amend remains pending. The Clerk is
hereby ORDERED to update the docket to reflect that the motion to
amend was GRANTED and no motion to amend is pending in this case.

IT Is so oRDERED this 29\ day of August:, 2005.

  
   

TED STA'I`ES DISTRICT JUDGE

~~ 'i-~\ tmth entered on the docket sheet tn
. » 53 and/or ?Q(a} FHCP on

- L'- ."I€,.'|.-_-,

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 42 in
case 2:03-CV-02043 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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US DISTRICT COURT

